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                  AMERICAN BROADCASTING
                7 COMPANIES, INC.

                8                           UNITED STATES DISTRICT COURT
                9                       CENTRAL DISTRICT OF CALIFORNIA
               10

               11 RAPHAELLE BARDET, in her                  CASE NO. 2:22-cv-816
                  representative capacity, and on behalf
               12 of all others similarly situated,        DEFENDANT AMERICAN
                                                           BROADCASTING COMPANIES,
               13              Plaintiff,                  INC.’S NOTICE OF REMOVAL
                         v.
               14                                          (Removed from LASC Case No.
                  AMERICAN BROADCASTING                    22STCV00195)
               15 COMPANIES, INC., a foreign
                  corporation; and DOES 1 through 50,      (Federal Question Jurisdiction: 28
               16 inclusive,                               U.S.C. §§ 1331, 1441)
               17              Defendants.                  [Civil Cover Sheet, Declaration of
                                                            Emma Luevano, and Certificate of
               18                                           Interested Parties and Corporate
                                                            Disclosure Statement, filed
               19                                           concurrently herewith]
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  1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
  2   CENTRAL DISTRICT OF CALIFORNIA AND TO PLAINTIFF
  3   RAPHAELLE BARDET AND HER ATTORNEYS OF RECORD:
  4         PLEASE TAKE NOTICE THAT Defendant American Broadcasting
  5   Companies, Inc. (hereinafter “Defendant”) hereby removes the above-entitled action
  6   from the Superior Court of the State of California for the County of Los Angeles to
  7   the United States District Court for the Central District of California pursuant to
  8   28 U.S.C. Sections 1331, 1367, and 1441. Pursuant to 28 U.S.C. Section 1446(d),
  9   removal of this action is effective upon notice and will immediately and
 10   automatically terminate all proceedings in the Superior Court for the County of Los
 11   Angeles. Defendant’s removal of this action is proper for the reasons set forth below.
 12         1.     Federal Question Jurisdiction: This action is a civil action of which
 13   this Court has original jurisdiction under 28 U.S.C. Section 1331, as it is an action
 14   arising under federal law. As set forth in greater detail below, this action is
 15   preempted by Section 301(a) of the Labor Management Relations Act (“LMRA”),
 16   29 U.S.C. Section 141, et seq., because it is based on rights created by and requires
 17   the interpretation of a collective bargaining agreement governing the terms and
 18   conditions of the services that Plaintiff purportedly provided to Defendant. This
 19   action, therefore, may be removed to this Court by Defendant pursuant to the
 20   provisions of 28 U.S.C. Section 1441(a) and (c).
 21         2.     On or about January 3, 2022, Plaintiff Raphaelle Bardet (“Plaintiff” or
 22   “Bardet”), filed a Complaint captioned Raphaelle Bardet v. American Broadcasting
 23   Companies, Inc., et al., Case No. 22STCV00195, in the Superior Court of the State
 24   of California for the County of Los Angeles (the “State Court Action”).
 25         3.     The Complaint centers around the services that Plaintiff purportedly
 26   provided as a model/performer on or around February 25, 2021 in a taped
 27   performance given by the artist Kelly Rowland that thereafter aired on the television
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                1   show, Good Morning America. Defendant produces Good Morning America, but
                2   did not produce Ms. Rowland’s taped performance.
                3         4.     Plaintiff’s Complaint alleges six causes of action: (1) failure to pay
                4   wages in violation of California Labor Code Sections 218, 218.5 and 218.6;
                5   (2) failure to provide rest breaks in violation of California Labor Code Sections 512
                6   and 226.7; (3) waiting time penalties pursuant to California Labor Code
                7   Section 201.5; (4) failure to furnish accurate itemized wage statements in violation
                8   of California Labor Code Section 226; (5) unfair and unlawful business practices
                9   under California Business and Professions Code Section 17200; and (6) a violation
               10   under California’s Private Attorneys General Act, California Labor Code
               11   Section 2698.
               12         5.     Removal is Timely: On January 6, 2022, Defendant’s designated
               13   corporate agent for service of process was personally served with copies of the
               14   Summons and Complaint in the State Court Action. 28 U.S.C. Section 1446(b)
               15   states that removal papers shall be filed within 30 days of service of the Complaint
               16   on Defendant. Here, the 30th day of service of the Complaint fell on Saturday,
               17   February 5, 2022. Pursuant to the Federal Rules of Civil Procedure 6(a)(1)(C), “if
               18   the last day is a Saturday, Sunday, or legal holiday, the period continues to run until
               19   the end of the next day that is not a Saturday, Sunday, or legal holiday.” Because
               20   Defendant filed this Notice of Removal on Monday, February 7, 2022, it is therefore
               21   timely under 28 U.S.C. Section 1446(b).
               22         6.     Defendant is informed and believes that no “Doe” defendant has been
               23   identified and therefore no other defendant has been served with a copy of the
               24   Summons and/or the Complaint. This action may be removed by Defendant to
               25   federal court pursuant to 28 U.S.C. Section 1441.
               26         7.     Copies of All Process, Pleadings, and Orders: To the best of
               27   Defendant’s knowledge, the pleadings and documents filed and/or served in the
  Mitchell     28   State Court Action consist of:
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                1                  (a)   The Complaint, filed on January 3, 2022 and served on
                2   Defendant on January 6, 2022, which is attached as Exhibit A to the Declaration of
                3   Emma Luevano (“Luevano Declaration”), filed concurrently herewith;
                4                  (b)   The Summons, issued on January 3, 2022 and served on
                5   Defendant on January 6, 2022, which is attached as Exhibit B to the Luevano
                6   Declaration;
                7                  (c)   The Civil Case Cover Sheet, filed on January 3, 2022 and served
                8   on Defendant on January 6, 2022, which is attached as Exhibit C to the Luevano
                9   Declaration;
               10                  (d)   The Notice of Case Assignment – Unlimited Civil Case, filed on
               11   January 3, 2022 and served on Defendant on January 6, 2022, which is attached as
               12   Exhibit D to the Luevano Declaration;
               13                  (e)   Proof of Service of Summons, filed by Plaintiff on January 10,
               14   2022 and obtained through Westlaw as it does not appear that Defendant was served
               15   with this document, which is attached as Exhibit E to the Luevano Declaration; and
               16                  (f)   Defendant’s Answer to Plaintiff’s Unverified Complaint, filed on
               17   February 4, 2022 and served on Plaintiff on February 4, 2022, which is attached as
               18   Exhibit F to the Luevano Declaration.
               19         Accordingly, complete copies of all process, pleadings, and orders served upon
               20   Defendant in the State Court Action, along with other pleadings and orders not yet
               21   served on Defendant, are attached as Exhibits A to F to the Luevano Declaration,
               22   pursuant to 28 U.S.C. Section 1446(a).
               23         8.       Venue: The Complaint is a civil action of which this Court has original
               24   jurisdiction under 28 U.S.C. Section 1331 (federal question jurisdiction), and is one
               25   which may be removed to this Court pursuant to 28 U.S.C. Section 1441(a) (“any
               26   civil action brought in a State court of which the district courts of the United States
               27   have original jurisdiction, may be removed by the defendant or the defendants, to
  Mitchell     28   the district court of the United States for the district and division embracing the
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                1   place where such action is pending”). The Los Angeles County Superior Court is
                2   located within the Central District of California. Accordingly, removal to the
                3   United States District Court for the Central District of California is proper. See
                4   28 U.S.C. § 1441(a).
                5         9.     Federal Question Jurisdiction Exists: Section 301(a) of the LMRA
                6   provides: “Suits for violation of contracts between an employer and a labor
                7   organization representing employees in an industry affecting commerce as defined
                8   in this Act, or between any such labor organizations, may be brought in any district
                9   court of the United States having jurisdiction of the parties, without respect to the
               10   amount in controversy or without regard to the citizenship of the parties.” 29 U.S.C.
               11   § 185(a).
               12         10.    As applied, Section 301(a) wholly preempts any and all purported state
               13   law causes of action by an individual concerning a dispute over her terms and
               14   conditions of purported employment, if the causes of action are “based directly on
               15   rights created by a collective bargaining agreement” or require the “interpretation of
               16   a collective bargaining agreement.” Aguilera v. Pirelli Armstrong Tire Corp., 223
               17   F.3d 1010 (9th Cir. 2000); Audette v. ILWU Local 24, 195 F.3d 1107, 1112 (9th Cir.
               18   1999) (“where the position in dispute is covered by [a] [collective bargaining
               19   agreement], the [collective bargaining agreement] controls and any claims seeking
               20   to enforce the terms of” an independent contract pertaining to that position “are
               21   preempted”) (internal quotation marks and citations omitted); Firestone v. S. Cal.
               22   Gas Co., 281 F. 3d 801, 802 (9th Cir. 2002) (“a state law claim is preempted [by
               23   Section 301] if it necessarily requires the court to interpret an existing provision of a
               24   collective bargaining agreement that can reasonably be said to be relevant to the
               25   resolution of the dispute”) (internal quotation marks and citations omitted).
               26         11.    “[S]ection 301 preemption is extraordinarily strong” and exists to
               27   eliminate the “possibility that individual contract terms might have different
  Mitchell     28   meanings under state and federal law [as that] would inevitably exert a disruptive
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                1   influence upon both the negotiation and administration of collective agreements.”
                2   Moreau v. San Diego Transit Corp., 210 Cal. App. 3d 614, 622 (1989) (first quote);
                3   Local 174, Teamsters, Chauffeurs, Warehousemen & Helpers of Am. v. Lucas Flour
                4   Co., 369 U.S. 95, 103 (1962) (second quote).
                5         12.     Where a federal claim completely preempts a state claim, a complaint
                6   coming within the scope of the federal claim necessarily arises under federal law
                7   and is removable. See Young v. Anthony’s Fish Grottos, 830 F.2d 993, 997-98 (9th
                8   Cir. 1987).
                9         13.     And, pursuant to the “artful pleading” doctrine, even if the plaintiff
               10   omits reference to the collective bargaining agreement (“CBA”) in her lawsuit or
               11   purports to base her claims on state law, those claims will nevertheless be deemed to
               12   arise under LMRA Section 301(a) if they are based on rights created by the
               13   collective bargaining agreement or require interpretation of that agreement. Hyles v.
               14   Mensing, 849 F.2d 1213, 1215-16 (9th Cir. 1988) (even if no federal question
               15   appeared on the face of the complaint, removal was proper because state action was
               16   really a claim for breach of the CBA and thus preempted by Section 301); Stallcop
               17   v. Kaiser Found. Hosps., 820 F.2d 1044, 1048 (9th Cir. 1987) (“Stallcop’s
               18   complaint does not reveal that her employment is governed by a collective
               19   bargaining agreement, but this is not dispositive . . . . [I]f the complaint actually
               20   raises a section 301 claim on the collective bargaining agreement, even though it is
               21   framed under state law, the claim is preempted.”).
               22         14.     Defendant American Broadcasting Companies, Inc. is an “employer” of
               23   employees in an industry affecting commerce, as defined by the LMRA.
               24         15.     The Screen Actors Guild – American Federation of Television and
               25   Radio Artists (“SAG-AFTRA”) is a “labor organization” as defined by the LMRA.
               26         16.     At all times relevant to the Complaint, Defendant and SAG-AFTRA
               27   were parties to a CBA known as the SAG-AFTRA National Code of Fair Practice
  Mitchell     28   for Network Television Broadcasting (the “Network Code”). The Network Code
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                1   covers work and services provided by performers that air on live action, non-prime
                2   time television programs. The 2014-2018 SAG-AFTRA Network Code (“2014
                3   Network Code”) is attached as Exhibit G to the Luevano Declaration. In addition,
                4   there is a 2018 Memorandum of Agreement (“2018 MOA”), reflecting
                5   modifications to the Network Code agreed upon by SAG-AFTRA and the broadcast
                6   television networks (including Defendant) for the term of July 1, 2018 to
                7   June 30, 2021. The MOA is attached as Exhibit H to the Luevano Declaration.1
                8   The 2014 Network Code and 2018 MOA are “contracts” between a “labor
                9   organization” and an “employer” as those terms are defined by the LMRA
               10   Section 301(a).2
               11         17.    Plaintiff’s Complaint does not specify whether she is a SAG-AFTRA
               12   member. Irrespective of whether Plaintiff is a SAG-AFTRA member or not,
               13   Defendant is a signatory to the Network Code, and Defendant has agreed that any
               14   individual who provides services in a CBA-covered role (even if not Defendant’s
               15   employee) is bound by its terms. See Luevano Decl., Ex. G at § 93 (“Producer
               16   agrees that he has notice that this Code represents the minimum terms and working
               17   conditions of performers in live network television broadcasting.”). The reason for
               18   such agreement is to ensure that the working terms and conditions negotiated by
               19   SAG-AFTRA are not undermined by the networks, regardless if they employ or do
               20   not employ the performers that air on their live action, non-prime time television
               21   programs, such as Good Morning America.
               22
                    1 All cited references to the 2014 Network Code in this Notice of Removal are
               23   unchanged by the 2018 MOA, unless expressly specified.
               24   2 Courts within this Circuit have frequently taken judicial notice of a CBA as “such
                    documents properly are considered [ ] materials ‘not subject to reasonable dispute’
               25   because they are ‘capable of accurate and ready determination by resort to sources
                    whose accuracy cannot reasonably be questioned.’” Densmore v. Mission Linen
               26   Supply, 164 F. Supp. 3d 1180, 1187 (E.D. Cal. 2016) (quoting Jones v. AT&T, 2008
                    WL 902292, *2 (N.D. Cal. Mar. 31, 2008)); see also Johnson v. Sky Chefs, Inc.,
               27   2012 WL 4483225, at *1 n.1 (N.D. Cal. Sept. 27, 2012) (“[c]ourts routinely take
                    judicial notice of the governing [CBA] where necessary to resolve issues of
  Mitchell     28   preemption”).
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                1         18.    According to SAG-AFTRA, the services that Plaintiff purportedly
                2   provided – as a model/performer in a taped performance by the artist Kelly Rowland
                3   that aired on the television show, Good Morning America – are governed by the
                4   Network Code. See Luevano Decl., Ex. G at § 3(A) (reflecting the terms and
                5   conditions for performers who speak five lines or less in a single program
                6   performance), § 33 (models are paid at the rate for performers who speak five lines
                7   or less). The only capacity in which Plaintiff purportedly provided services to
                8   Defendant at the time of the events described in the Complaint was as a
                9   model/performer on Ms. Rowland’s pre-taped television performance which SAG-
               10   AFTRA maintains is covered by the terms of the Network Code.
               11         19.    Because Plaintiff purportedly held a role covered by the Network Code,
               12   that agreement controls the terms and conditions pursuant to which she provided
               13   services. As relevant here, inter alia, the Network Code:
               14                a.    Prescribes rates of pay based on the type of project for which
               15   services are rendered. Luevano Decl., Ex. G at §§ 3(A), 33;
               16                b.    Prescribes additional hourly rates if a performer accrues
               17   additional rehearsal hours greater than the minimum amount included as part of the
               18   base rate. See id. at §§ 3(A), 13-15;
               19                c.    Sets forth any rights and obligations with respect to meal and rest
               20   periods. See id. at §§ 16, 22, 23; and
               21                d.    Subjects certain disputes to arbitration, including, but not limited
               22   to, compensation-related claims. See id. at § 95.
               23         20.    In addition, the Network Code requires a myriad of premiums for
               24   different kinds of work and services, but a few examples follow:
               25                a.    “Performers, including background actors, supplying personal
               26   wardrobe, shall receive a wardrobe maintenance fee of $10.00 per garment, except
               27   that the fee for formal evening war and genuine furs (coats, jackets, capes, and
  Mitchell     28   stoles) shall be $25.00.” Luevano Decl., Ex. G at § 25;
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                1                 b.    “A performer taking part in hazardous action or working under
                2   hazardous conditions shall be paid additional compensation of $100.00 per
                3   program.” Id. at § 39;
                4                 c.    “If the performer furnishes his own automobile he shall be paid
                5   in accordance with company policy, if the company has an established policy, but in
                6   no event less than $3.00 per day. If the Company has no established policy, the
                7   performer shall be paid thirty cents (30¢) per mile, but in no event less than $3.00
                8   per day.” Id. at § 43; and
                9                 d.    “If a performer is required to grow a beard or mustache, or to
               10   shave his head, the performer shall be paid additional compensation of $35.00.” Id.
               11   at § 50.
               12         21.     With respect to rest periods, the Network Code provides that “[t]here
               13   shall be at least a five (5) minute rest period provided during every hour of
               14   rehearsal. If a request by the contractor, deputy or authorized SAG-AFTRA
               15   representative to give such rest period to dancers is ignored or denied by Producer,
               16   each dancer shall be paid $5.00 for each such violation of the rest-period rule.”
               17   Luevano Decl., Ex. G at § 22.
               18         22.     With respect to meal periods, in the event a first meal period is not
               19   provided within six hours between first call and first meal, the Network Code states
               20   that the “Producer shall be required to pay in addition to any other fees a sum of
               21   $25.00 to such performer for such first meal period missed.” And “[i]f a second or
               22   succeeding meal period is not given, a $35.00 missed meal period penalty shall be
               23   incurred.” Luevano Decl., Ex. G at § 23.
               24         23.     Section 301 preemption claims are analyzed under the two-step
               25   framework described in Burnside v. Kiewit Pac. Corp., 491 F.3d 1053, 1059 (9th
               26   Cir. 2007):
               27                 First, a court must determine whether the asserted cause of
  Mitchell     28                 action involves a right conferred upon an employee by virtue of
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                1                state law, not by a CBA. If the right exists solely as a result
                2                of the CBA, then the claim is preempted, and the analysis
                3                ends there. If the court determines that the right underlying the
                4                plaintiff’s state law claim(s) exists independently of the CBA, it
                5                moves to the second step, asking whether the right is
                6                nevertheless substantially dependent on analysis of a collective-
                7                bargaining agreement. Where there is such substantial
                8                dependence, the state law claim is preempted by § 301.
                9   Kobold v. Good Samaritan Reg’l Med. Ctr., 832 F.3d 1024, 1032-33 (9th Cir. 2016)
               10   (internal quotations and citations omitted) (emphasis added); see also Alaska
               11   Airlines v. Schurke, 898 F.3d 904, 920-21 (9th Cir. 2018) (“If a claim arises entirely
               12   from a right or duty of the CBA – for example, a claim for violation of the labor
               13   agreement . . . it is, in effect, a CBA dispute in state law garb, and is preempted.”).
               14         24.    Plaintiff’s claims – failure to pay wages, failure to provide rest breaks,
               15   failure to provide accurate wage statements, a derivative UCL claim, and PAGA
               16   claim (based on the aforementioned Labor Code violations and a failure to provide
               17   meal breaks) – are clearly preempted by Section 301.
               18         25.    Here, although Plaintiff was not employed by Defendant (and, instead,
               19   on Defendant’s information and belief, was employed by the production company
               20   that produced the pre-taped performance), there can be no reasonable dispute that
               21   the rate applicable to the services that Plaintiff purportedly provided to Defendant
               22   (including payment for the performance on Good Morning America), as well as any
               23   pertinent premiums that should be factored into that rate, are created solely by the
               24   Network Code and are not required by (nor do they even have any analogue in) the
               25   California Labor Code. Plaintiff does not and cannot allege otherwise. As a result,
               26   because Plaintiff seeks to enforce a “right [that] exists solely as a result of the CBA .
               27   . . the claim is preempted, and the analysis ends there.” Kobald, 832 F.3d at 1032.
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                1         26.     The same is true with respect to Plaintiff’s failure to provide rest and
                2   meal period allegations, as they create obligations on Defendant that do not exist
                3   anywhere in the California Labor Code (e.g., providing a five-minute rest break
                4   every hour of rehearsal and/or mandating a $25 as a penalty for a first missed meal
                5   break). Whenever a claim – even one in “state law garb” – is based on rights
                6   created solely by a CBA, it is preempted to the same extent as claims directly
                7   alleging a breach of the CBA. See, e.g., Partida v. Stater Bros. Markets, 2019 WL
                8   1601387, at *4 (C.D. Cal. Feb. 19, 2019) (CBA provided for double-time for hours
                9   in excess of 10 per workday rather than state law standard of 12; “The Court finds
               10   that Plaintiff’s Overtime Claim is preempted under Burnside prong 1 because the
               11   CBA confers rights on the Plaintiff which state law does not.”); Buckner v.
               12   Universal Television, LLC, 2017 WL 5956678, at *2 (C.D. Cal. 2017) (CBA
               13   provided for overtime and “golden hours” that differed from state law and FLSA
               14   requirements; “the LMRA preempts Plaintiff’s overtime claim under the first step of
               15   the Burnside test . . . Plaintiff’s overtime rights arise exclusively out of the CBAs,
               16   and the LMRA preempts Plaintiff’s overtime claim”).
               17         27.     Finally, that Plaintiff is asserting a PAGA cause of action does not
               18   preclude preemption. Plaintiff and other aggrieved employees’ entitlement to civil
               19   penalties for Defendant’s alleged failure to pay wages, provide rest and meal breaks,
               20   and provide accurate wage statements arises solely from the CBA applicable to the
               21   services that Plaintiff purportedly provided to Defendant and are, therefore,
               22   preempted. See, e.g., Landy v. Pettigrew Crewing, Inc., 2019 WL 6245525, at *1
               23   and *5 (C.D. Cal. Nov. 22, 2019) (holding that the plaintiff’s PAGA claim, which
               24   was based on defendant’s alleged violations of California Labor Code Section 204,
               25   were preempted under Section 301); Hall v. Live Nation Worldwide, Inc., 146 F.
               26   Supp. 3d 1187, 1202 (C.D. Cal. 2015) 1204 (finding that the PAGA claim was
               27   preempted).
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                1         28.    For these reasons, Plaintiff’s claims – all of which are predicated on
                2   some violation of the California Labor Code – are not free-standing, but are instead
                3   “inextricably intertwined” with the Network Code, preempted and thus arising under
                4   federal law. Audette, 195 F.3d at 1112.
                5         29.     Supplemental Jurisdiction: As discussed above, this Court has
                6   supplemental jurisdiction over any such portion of the claim in that it is so related as
                7   to be part of the same case or controversy. See 28 U.S.C. § 1367. Indeed, here,
                8   Plaintiff specifically bases all of her causes of action on the services that she
                9   purportedly provided to Defendant as part of a taped performance that aired on
               10   Good Morning America. See id.; see also Bale v. Gen. Tel. Co., 795 F.2d 775, 778
               11   (9th Cir. 1986) (all claims arising from the same alleged representations made at
               12   time of hiring “fall within the scope of pendent jurisdiction”). Moreover,
               13   considerations of judicial economy, convenience, and fairness to the litigants require
               14   that all causes of action alleged in the Complaint should be tried in one forum. See
               15   Brady v. Brown, 51 F.3d 810, 816 (9th Cir. 1995) (“Pendent jurisdiction over state
               16   claims exists when the federal claim is sufficiently substantial to confer federal
               17   jurisdiction, and there is ‘a common nucleus of operative fact between the state and
               18   federal claims….The decision to retain jurisdiction over state law claims is within
               19   the district court’s discretion, weighing factors such as economy, convenience,
               20   fairness, and comity.”) (Internal citations omitted). For these reasons, Defendant
               21   respectfully requests that this Court assume jurisdiction over any such claim which
               22   it deems to be supplemental.
               23         30.    In addition, and in the alternative, even if supplemental jurisdiction did
               24   not exist, any non-preempted cause of action may properly be removed to this Court
               25   pursuant to the provisions of 28 U.S.C. Section 1441(c), in that any claim has been
               26   joined with claims which would have been removable if sued upon alone, and,
               27   therefore, the entire case may be removed on the basis of federal jurisdiction.
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                1         31.    Based on the above, this Court has both original and supplemental
                2   jurisdiction over this federal question action pursuant to 28 U.S.C. Section 1331,
                3   and removal is appropriate pursuant to 28 U.S.C. Section 1441(a).
                4         32.    Venue within this District: Removal is proper to the Central District of
                5   California, Western Division because the State Court Action was filed in Los
                6   Angeles County, California.
                7         33.    Notice to Adverse Parties and State Court: A written notice as required
                8   by 28 U.S.C. Section 1446(d) addressed to the adverse party and to the Clerk of the
                9   Superior Court for Los Angeles County, California will be filed promptly in the
               10   state court and served on Plaintiff’s counsel upon the filing of this Notice of
               11   Removal.
               12

               13   DATED: February 7, 2022                 Respectfully submitted,
               14                                           MITCHELL SILBERBERG & KNUPP LLP
                                                            EMMA LUEVANO
               15                                           COREY G. SINGER
               16

               17                                           By: /s/ Emma Luevano
               18                                               Emma Luevano
                                                                Attorneys for Defendant
               19                                               AMERICAN BROADCASTING
                                                                SERVICES, INC.
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  Mitchell     28
Silberberg &
 Knupp LLP
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                                                    NOTICE OF REMOVAL
